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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :       Case No.: 1:22-cr-100 (RBW)
              v.                            :
                                            :
JACOB ZERKLE,                               :
                                            :
                      Defendant.            :


                                NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby notifies the Court

that Assistant United States Attorney Joseph Hutton Marshall is entering his appearance in the

above-captioned matter as counsel for the United States.



                                                    Respectfully submitted,

DATED: January 27, 2023                             MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052

                                            By:      /s/ Joseph Hutton Marshall
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